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                     EXHIBIT 12B
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Appendix A to Compensation Framework for
     Wetlands Real Property Claims:
 Wetlands Real Property Claim Zone Map




                       Appendix A: Wetlands Real Property Claim                   1
                                     Zone Map
                                                                                028028
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                                         Louisiana (Entire Zone)




Notes:
1. Parcel boundaries are based on Tobin digital ownership maps published by P2 Energy Solutions.
2. Potential claimants can determine whether their parcel is eligible for compensation under the Compensation
    Framework for Wetlands Real Property Claims by entering their address or location on the settlement website.

                                       Appendix A: Wetlands Real Property Claim                                 2
                                                     Zone Map
                                                                                                             028029
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              Louisiana (Detailed Portion 1)




                 Appendix A: Wetlands Real Property Claim                    3
                               Zone Map
                                                                          028030
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              Louisiana (Detailed Portion 2)




                 Appendix A: Wetlands Real Property Claim                    4
                               Zone Map
                                                                          028031
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              Louisiana (Detailed Portion 3)




                 Appendix A: Wetlands Real Property Claim                    5
                               Zone Map
                                                                          028032
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              Louisiana (Detailed Portion 4)




                 Appendix A: Wetlands Real Property Claim                    6
                               Zone Map
                                                                          028033
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              Louisiana (Detailed Portion 5)




                 Appendix A: Wetlands Real Property Claim                    7
                               Zone Map
                                                                          028034
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              Louisiana (Detailed Portion 6)




                 Appendix A: Wetlands Real Property Claim                    8
                               Zone Map
                                                                          028035
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               Louisiana (Detailed Portion 7)




                  Appendix A: Wetlands Real Property Claim                    9
                                Zone Map
                                                                           028036
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               Louisiana (Detailed Portion 8)




                  Appendix A: Wetlands Real Property Claim                  10
                                Zone Map
                                                                           028037
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               Louisiana (Detailed Portion 9)




                  Appendix A: Wetlands Real Property Claim                  11
                                Zone Map
                                                                           028038
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              Louisiana (Detailed Portion 10)




                  Appendix A: Wetlands Real Property Claim                  12
                                Zone Map
                                                                           028039
